In re Delphi Corporation, et al.
                                                  05-44481-rdd               Doc 9692-8      Filed 09/28/07 Entered 09/28/07 16:40:29                                    Exhibit E-1
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 10118
                                                   Claim Holder Name and Address
Date Filed: 07/21/2006
Docketed Total:   $194,813.34                      ARGO PARTNERS                              Docketed Total:                  $194,813.34   ARGO PARTNERS                       Modified Total:         $193,811.34
Filing Creditor Name and Address:                  12 W 37TH ST 9TH FL                                                                       12 W 37TH ST 9TH FL
  AAVID THERMALLOY LLC                             NEW YORK, NY 10018                                                                        NEW YORK, NY 10018
  1 EAGLE SQ STE 509
  CONCORD, NH 03301                               Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                     $194,813.34   05-44640                                                    $193,811.34

                                                                                                                               $194,813.34                                                               $193,811.34

Claim: 16469
                                                   Claim Holder Name and Address
Date Filed: 12/28/2006
Docketed Total:   $48,533.56                       LONGACRE MASTER FUND LTD                   Docketed Total:                   $48,533.56   LONGACRE MASTER FUND LTD            Modified Total:          $39,769.63
Filing Creditor Name and Address:                  810 SEVENTH AVE 22ND FL                                                                   810 SEVENTH AVE 22ND FL
  ACE RENT A CAR INC                               NEW YORK, NY 10019                                                                        NEW YORK, NY 10019
  5773 W WASHINGTON ST
  INDIANAPOLIS, IN 46241                          Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44640                                                                      $48,533.56   05-44640                                                     $39,769.63

                                                                                                                                $48,533.56                                                                $39,769.63

Claim: 7702
                                                   Claim Holder Name and Address
Date Filed: 06/09/2006
Docketed Total:   $41,500.23                       ADT SECURITY SERVICES                      Docketed Total:                   $41,500.23   ADT SECURITY SERVICES               Modified Total:          $20,269.57
Filing Creditor Name and Address:                  14200 E EXPOSITION AVE                                                                    14200 E EXPOSITION AVE
  ADT SECURITY SERVICES                            AURORA, CO 80012                                                                          AURORA, CO 80012
  14200 E EXPOSITION AVE
  AURORA, CO 80012                                Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                      $41,500.23   05-44640                                                     $20,269.57

                                                                                                                                $41,500.23                                                                $20,269.57




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 2593
                                                   Claim Holder Name and Address
Date Filed: 04/10/2006
Docketed Total:   $92,815.91                       AMERICAN MESSAGING                         Docketed Total:                   $92,815.91   AMERICAN MESSAGING               Modified Total:          $84,526.00
Filing Creditor Name and Address:                  32255 NORTHWESTERN HWY                                                                    32255 NORTHWESTERN HWY
  AMERICAN MESSAGING                               STE 143                                                                                   STE 143
  32255 NORTHWESTERN HWY                           FARMINGTON HILLS, MI 48334                                                                FARMINGTON HILLS, MI 48334
  STE 143
  FARMINGTON HILLS, MI 48334                      Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured          Priority      Unsecured
                                                  05-44481                                                                      $92,815.91   05-44640                                                  $84,526.00

                                                                                                                                $92,815.91                                                             $84,526.00

Claim: 10716
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $693,692.38                      AMPHENOL CORP AMPHENOL RF                  Docketed Total:                  $693,692.38   AMPHENOL CORP AMPHENOL RF        Modified Total:         $687,494.02
Filing Creditor Name and Address:                  4 OLD NEWTON RD                                                                           4 OLD NEWTON RD
  AMPHENOL CORP AMPHENOL                           DANBURY, CT 06810                                                                         DANBURY, CT 06810
  RF
  4 OLD NEWTON RD                                 Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured          Priority      Unsecured
  DANBURY, CT 06810                               05-44624                                                                     $693,692.38   05-44624                                                 $687,494.02

                                                                                                                               $693,692.38                                                            $687,494.02

Claim: 10058
                                                   Claim Holder Name and Address
Date Filed: 07/20/2006
Docketed Total:   $13,388.20                       AMROC INVESTMENTS LLC                      Docketed Total:                   $13,388.20   AMROC INVESTMENTS LLC            Modified Total:          $10,022.40
Filing Creditor Name and Address:                  AS ASSIGNEE OF MOONEY GENERAL                                                             AS ASSIGNEE OF MOONEY GENERAL
  AMROC INVESTMENTS LLC AS                         PAPER CO                                                                                  PAPER CO
  ASSIGNEE OF MOONEY GENERAL                       535 MADISON AVE 15TH FL                                                                   535 MADISON AVE 15TH FL
  PAPER CO                                         NEW YORK, NY 10022                                                                        NEW YORK, NY 10022
  ATTN DAVID S LEINARD
  535 MADISON AVE 15TH FLOOR                      Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured          Priority      Unsecured
  NEW YORK, NY 10022                              05-44640                                                                      $13,388.20   05-44640                                                  $10,022.40

                                                                                                                                $13,388.20                                                             $10,022.40




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 8967
                                                   Claim Holder Name and Address
Date Filed: 07/05/2006
Docketed Total:   $441.26                          B AND T EXPRESS                            Docketed Total:                      $441.26   B AND T EXPRESS                     Modified Total:             $302.90
Filing Creditor Name and Address:                  9039 W KELLY RD                                                                           9039 W KELLY RD
  B AND T EXPRESS                                  LAKE CITY, MI 49651                                                                       LAKE CITY, MI 49651
  9039 W KELLY RD
  LAKE CITY, MI 49651                             Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                         $441.26   05-44640                                                        $302.90

                                                                                                                                   $441.26                                                                   $302.90

Claim: 11459
                                                   Claim Holder Name and Address
Date Filed: 07/27/2006
Docketed Total:   $156,246.02                      BAILEY MFG CO LLC                          Docketed Total:                  $156,246.02   BAILEY MFG CO LLC                   Modified Total:         $156,246.02
Filing Creditor Name and Address:                  10987 BENNETT STATE RD                                                                    10987 BENNETT STATE RD
  BAILEY MFG CO LLC                                FORESTVILLE, NY 14062                                                                     FORESTVILLE, NY 14062
  10987 BENNETT STATE RD
  FORESTVILLE, NY 14062                           Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                     $156,246.02   05-44640                                                    $156,246.02

                                                                                                                               $156,246.02                                                               $156,246.02

Claim: 1415
                                                   Claim Holder Name and Address
Date Filed: 12/30/2005
Docketed Total:   $6,421.37                        BALZERS INC                                Docketed Total:                    $6,421.37   BALZERS INC                         Modified Total:            $4,805.65
Filing Creditor Name and Address:                  2511 TECHNOLOGY DR STE 114                                                                2511 TECHNOLOGY DR STE 114
  BALZERS INC                                      ELGIN, IL 60123                                                                           ELGIN, IL 60123
  2511 TECHNOLOGY DR STE 114
  ELGIN, IL 60123                                 Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                       $6,421.37   05-44481                                                       $4,805.65

                                                                                                                                 $6,421.37                                                                  $4,805.65




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 9881
                                                   Claim Holder Name and Address
Date Filed: 07/19/2006
Docketed Total:   $54,725.45                       BROWN & SHARPE INC                         Docketed Total:                   $54,725.45   BROWN & SHARPE INC                  Modified Total:           $54,725.45
Filing Creditor Name and Address:                  BROWN & SHARPE MFG CP                                                                     BROWN & SHARPE MFG CP
  BROWN & SHARPE INC                               200 FRENCHTOWN RD                                                                         200 FRENCHTOWN RD
  BROWN & SHARPE MFG CP                            NORTH KINGSTOWN, RI 02852                                                                 NORTH KINGSTOWN, RI 02852
  200 FRENCHTOWN RD
  NORTH KINGSTOWN, RI 02852                       Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                      $54,725.45   05-44640                                                     $54,725.45

                                                                                                                                $54,725.45                                                                 $54,725.45

Claim: 2404
                                                   Claim Holder Name and Address
Date Filed: 03/27/2006
Docketed Total:   $24,380.00                       CAMBRON ENGINEERING INC                    Docketed Total:                   $24,380.00   CAMBRON ENGINEERING INC             Modified Total:           $23,358.00
Filing Creditor Name and Address:                  3800 WILDER RD                                                                            3800 WILDER RD
  CAMBRON ENGINEERING INC                          BAY CITY, MI 48706                                                                        BAY CITY, MI 48706
  3800 WILDER RD
  BAY CITY, MI 48706                              Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                      $24,380.00   05-44640                                                     $23,358.00

                                                                                                                                $24,380.00                                                                 $23,358.00

Claim: 1673
                                                   Claim Holder Name and Address
Date Filed: 01/26/2006
Docketed Total:   $7,962.38                        CANON BUSINESS SOLUTIONS EAST              Docketed Total:                    $7,962.38   CANON BUSINESS SOLUTIONS EAST       Modified Total:            $7,962.38
Filing Creditor Name and Address:                  1250 VALLEY BROOK AVE                                                                     1250 VALLEY BROOK AVE
  CANON BUSINESS SOLUTIONS                         LYNDHURST, NJ 07071                                                                       LYNDHURST, NJ 07071
  EAST
  1250 VALLEY BROOK AVE                           Case Number*                     Secured      Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
  LYNDHURST, NJ 07071                             05-44481                                                                       $7,962.38   05-44618                                                       $7,962.38

                                                                                                                                 $7,962.38                                                                  $7,962.38




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                      CLAIM AS MODIFIED

Claim: 972
              12/02/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $13,629.56                     CENTRAL FREIGHT LINES INC                         Docketed Total:                   $13,629.56   CENTRAL FREIGHT LINES INC           Modified Total:          $13,629.56
Filing Creditor Name and Address:                  PO BOX 2638                                                                                      PO BOX 2638
  CENTRAL FREIGHT LINES INC                        WACO, TX 76702-2638                                                                              WACO, TX 76702-2638
  PO BOX 2638
  WACO, TX 76702-2638                             Case Number*                     Secured             Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                             $13,629.56   05-44640                                                     $13,629.56

                                                                                                                                       $13,629.56                                                                $13,629.56

Claim: 8237
                                                   Claim Holder Name and Address
Date Filed: 06/19/2006
Docketed Total:   $20,906.18                       CITY OF COLUMBUS                                  Docketed Total:                   $20,906.18   CITY OF COLUMBUS                    Modified Total:          $20,906.18
Filing Creditor Name and Address:                  910 DUBLIN RD                                                                                    910 DUBLIN RD
  CITY OF COLUMBUS                                 COLUMBUS, OH 43215                                                                               COLUMBUS, OH 43215
  910 DUBLIN RD
  COLUMBUS, OH 43215                              Case Number*                     Secured             Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                             $20,906.18   05-44640                                                     $20,906.18

                                                                                                                                       $20,906.18                                                                $20,906.18

Claim: 2268
                                                   Claim Holder Name and Address
Date Filed: 03/13/2006
Docketed Total:   $20,941.97                       CITY OF ROCHESTER                                 Docketed Total:                   $20,941.97   CITY OF ROCHESTER                   Modified Total:          $19,334.43
Filing Creditor Name and Address:                  DEPARTMENT OF LAW                                                                                DEPARTMENT OF LAW
  CITY OF ROCHESTER                                30 CHURCH STREET                                                                                 30 CHURCH STREET
  DEPARTMENT OF LAW                                ROCHESTER, NY 14614                                                                              ROCHESTER, NY 14614
  30 CHURCH STREET
  ROCHESTER, NY 14614                             Case Number*                     Secured             Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                             $20,941.97                                                   05-44640                                                     $19,334.43

                                                                                       $20,941.97                                                                                                                $19,334.43




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 8243
                                                   Claim Holder Name and Address
Date Filed: 06/20/2006
Docketed Total:   $5,080.10                        COYOTE INDUSTRIAL HARDWARE                 Docketed Total:                    $5,080.10   COYOTE INDUSTRIAL HARDWARE      Modified Total:            $5,080.10
Filing Creditor Name and Address:                  INC                                                                                       INC
  COYOTE INDUSTRIAL                                3012 PRODUCTION COURT                                                                     3012 PRODUCTION COURT
  HARDWARE INC                                     DAYTON, OH 45414                                                                          DAYTON, OH 45414
  3012 PRODUCTION COURT
  DAYTON, OH 45414                                Case Number*                     Secured      Priority                   Unsecured         Case Number*         Secured          Priority      Unsecured
                                                  05-44481                                                                       $5,080.10   05-44640                                                   $5,080.10

                                                                                                                                 $5,080.10                                                              $5,080.10

Claim: 418
              11/07/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $4,411.20                      DUKE ENERGY CORPORATION                    Docketed Total:                    $4,411.20   DUKE ENERGY CORPORATION         Modified Total:            $4,411.20
Filing Creditor Name and Address:                  PO BOX 1244                                                                               PO BOX 1244
  DUKE ENERGY CORPORATION                          CHARLOTTE, NC 28201-1244                                                                  CHARLOTTE, NC 28201-1244
  PO BOX 1244
  CHARLOTTE, NC 28201-1244                        Case Number*                     Secured      Priority                   Unsecured         Case Number*         Secured          Priority      Unsecured
                                                  05-44481                                                                       $4,411.20   05-44539                                                   $4,411.20

                                                                                                                                 $4,411.20                                                              $4,411.20

Claim: 15664
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $103,442.63                      DUN & BRADSTREET                           Docketed Total:                  $103,442.63   DUN & BRADSTREET                Modified Total:           $51,355.42
Filing Creditor Name and Address:                  PO BOX 5126                                                                               PO BOX 5126
  DUN & BRADSTREET                                 TIMONIUM, MD 21094                                                                        TIMONIUM, MD 21094
  PO BOX 5126
  TIMONIUM, MD 21094                              Case Number*                     Secured      Priority                   Unsecured         Case Number*         Secured          Priority      Unsecured
                                                  05-44481                                                                     $103,442.63   05-44640                                                 $51,355.42
                                                                                                                                             05-44481                                                       $0.00
                                                                                                                               $103,442.63
                                                                                                                                                                                                       $51,355.42




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                      CLAIM AS MODIFIED

Claim: 14400
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $95,539.00                       EL PASO ELECTRIC CO                               Docketed Total:                   $95,539.00   EL PASO ELECTRIC CO                         Modified Total:          $55,463.35
Filing Creditor Name and Address:                  100 N STANTON                                                                                    100 N STANTON
  EL PASO ELECTRIC CO                              EL PASO, TX 79901                                                                                EL PASO, TX 79901
  100 N STANTON
  EL PASO, TX 79901                               Case Number*                     Secured             Priority                   Unsecured         Case Number*              Secured                Priority       Unsecured
                                                  05-44640                                                                             $95,539.00   05-44640                                                             $55,463.35

                                                                                                                                       $95,539.00                                                                        $55,463.35

Claim: 10718
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $958,965.92                      EQUISTAR CHEMICALS LP                             Docketed Total:                  $958,965.92   EQUISTAR CHEMICALS LP                       Modified Total:         $450,000.00
Filing Creditor Name and Address:                  1221 MC KINNEY STE 1500                                                                          1221 MC KINNEY STE 1500
  EQUISTAR CHEMICALS LP                            HOUSTON, TX 77010                                                                                HOUSTON, TX 77010
  1221 MC KINNEY STE 1500
  HOUSTON, TX 77010                               Case Number*                     Secured             Priority                   Unsecured         Case Number*              Secured                Priority       Unsecured
                                                  05-44481                            $545,000.06                                     $413,965.86   05-44481                            $0.00
                                                                                                                                                    05-44640                                                            $450,000.00
                                                                                      $545,000.06                                     $413,965.86
                                                                                                                                                                                        $0.00                           $450,000.00

Claim: 10349
                                                   Claim Holder Name and Address
Date Filed: 07/24/2006
Docketed Total:   $10,310.02                       FERGUSON ENTERPRISES INC                          Docketed Total:                   $10,310.02   FERGUSON ENTERPRISES INC                    Modified Total:          $10,310.02
Filing Creditor Name and Address:                  12500 JEFFERSON AVE                                                                              12500 JEFFERSON AVE
  FERGUSON ENTERPRISES INC                         NEWPORT NEWS, VA 23602-4314                                                                      NEWPORT NEWS, VA 23602-4314
  12500 JEFFERSON AVE
  NEWPORT NEWS, VA 23602-4314                     Case Number*                     Secured             Priority                   Unsecured         Case Number*              Secured                Priority       Unsecured
                                                  05-44481                                                                             $10,310.02   05-44640                                                             $10,310.02

                                                                                                                                       $10,310.02                                                                        $10,310.02




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 666
              11/18/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $20,756.67                     FLUKE CORPORATION                          Docketed Total:                   $20,756.67   FLUKE CORPORATION                   Modified Total:           $19,790.67
Filing Creditor Name and Address:                  PO BOX 9090                                                                               PO BOX 9090
  FLUKE CORPORATION                                EVERETT, WA 98206-9090                                                                    EVERETT, WA 98206-9090
  PO BOX 9090
  EVERETT, WA 98206-9090                          Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44481                                                                      $20,756.67   05-44482                                                        $183.00
                                                                                                                                             05-44640                                                      $19,607.67
                                                                                                                                $20,756.67
                                                                                                                                                                                                           $19,790.67

Claim: 5982
                                                   Claim Holder Name and Address
Date Filed: 05/16/2006
Docketed Total:   $5,309.70                        FUTURE DIE CAST & ENGINEERING              Docketed Total:                    $5,309.70   FUTURE DIE CAST & ENGINEERING       Modified Total:            $5,106.30
Filing Creditor Name and Address:                  INC                                                                                       INC
  FUTURE DIE CAST &                                14100 ROCCO CT                                                                            14100 ROCCO CT
  ENGINEERING INC                                  SHELBY TOWNSHIP, MI 48315                                                                 SHELBY TOWNSHIP, MI 48315
  14100 ROCCO CT
  SHELBY TOWNSHIP, MI 48315                       Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44640                                                                       $5,309.70   05-44640                                                       $5,106.30

                                                                                                                                 $5,309.70                                                                  $5,106.30

Claim: 7325
                                                   Claim Holder Name and Address
Date Filed: 06/01/2006
Docketed Total:   $388,310.09                      JPMORGAN CHASE BANK NA                     Docketed Total:                  $388,310.09   JPMORGAN CHASE BANK NA              Modified Total:         $363,079.29
Filing Creditor Name and Address:                  270 PARK AVE 17TH FL                                                                      270 PARK AVE 17TH FL
  GOODYEAR CANADA INC                              NEW YORK, NY 10017                                                                        NEW YORK, NY 10017
  1144 E MARKET ST
  AKRON, OH 44316                                 Case Number*                     Secured      Priority                   Unsecured         Case Number*             Secured          Priority      Unsecured
                                                  05-44640                                                                     $388,310.09   05-44640                                                    $363,079.29

                                                                                                                               $388,310.09                                                               $363,079.29




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 2058
                                                   Claim Holder Name and Address
Date Filed: 02/17/2006
Docketed Total:   $49,978.89                       HAIN CAPITAL INVESTORS LLC                 Docketed Total:                   $49,978.89   HAIN CAPITAL INVESTORS LLC         Modified Total:           $49,126.02
Filing Creditor Name and Address:                  301 ROUTE 17 6TH FL                                                                       301 ROUTE 17 6TH FL
  HAERTER STANZTECHNIK GMBH                        RUTHERFORD, NJ 07070                                                                      RUTHERFORD, NJ 07070
  GUTENBERGSTRASSE 8
  KONIGSBACH STEIN, 75203                         Case Number*                     Secured      Priority                   Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44481                                                                      $49,978.89   05-44567                                                    $49,126.02

                                                                                                                                $49,978.89                                                                $49,126.02

Claim: 5618
                                                   Claim Holder Name and Address
Date Filed: 05/11/2006
Docketed Total:   $2,724.00                        HARRINGTON INDUSTRIAL PLA                  Docketed Total:                    $2,724.00   HARRINGTON INDUSTRIAL PLA          Modified Total:            $2,724.00
Filing Creditor Name and Address:                  3440 PK DAVIS CIR                                                                         3440 PK DAVIS CIR
  HARRINGTON INDUSTRIAL PLA                        INDIANAPOLIS, IN 46236                                                                    INDIANAPOLIS, IN 46236
  3440 PK DAVIS CIR
  INDIANAPOLIS, IN 46236                          Case Number*                     Secured      Priority                   Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44481                                                                       $2,724.00   05-44640                                                      $2,724.00

                                                                                                                                 $2,724.00                                                                 $2,724.00

Claim: 394
              11/07/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $323.24                        HENRY TROEMNER LLC                         Docketed Total:                      $323.24   HENRY TROEMNER LLC                 Modified Total:             $262.47
Filing Creditor Name and Address:                  201 WOLF DR                                                                               201 WOLF DR
  HENRY TROEMNER LLC                               PO BOX 87                                                                                 PO BOX 87
  201 WOLF DR                                      THOROFARE, NJ 08086-0087                                                                  THOROFARE, NJ 08086-0087
  PO BOX 87
  THOROFARE, NJ 08086-0087                        Case Number*                     Secured      Priority                   Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44481                                                                         $323.24   05-44640                                                       $262.47

                                                                                                                                   $323.24                                                                  $262.47




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 14110
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $389,977.54                      HONEYWELL INTERNATIONAL S &                Docketed Total:               $389,977.54   HONEYWELL INTERNATIONAL S &     Modified Total:         $378,251.23
Filing Creditor Name and Address:                  C                                                                                      C
  HONEYWELL INTERNATIONAL S                        1140 W WARNER RD BLDG 1233 M                                                           1140 W WARNER RD BLDG 1233 M
  &C                                               TEMPE, AZ 85284                                                                        TEMPE, AZ 85284
  1140 W WARNER RD BLDG 1233
  M                                               Case Number*                     Secured      Priority                Unsecured         Case Number*         Secured          Priority      Unsecured
  TEMPE, AZ 85284                                 05-44481                                                                  $389,977.54   05-44640                                                $378,251.23

                                                                                                                            $389,977.54                                                           $378,251.23

Claim: 14236
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $588,927.08                      IR EPI SERVICES INC                        Docketed Total:               $588,927.08   IR EPI SERVICES INC             Modified Total:         $488,834.60
Filing Creditor Name and Address:                  SHEPPARD MULLIN RICHTER &                                                              SHEPPARD MULLIN RICHTER &
  IR EPI SERVICES INC                              HAMPTON LLP                                                                            HAMPTON LLP
  SHEPPARD MULLIN RICHTER &                        333 S HOPE ST 48TH FLOOR                                                               333 S HOPE ST 48TH FLOOR
  HAMPTON LLP                                      LOS ANGELES, CA 90071                                                                  LOS ANGELES, CA 90071
  333 S HOPE ST 48TH FLOOR
  LOS ANGELES, CA 90071                           Case Number*                     Secured      Priority                Unsecured         Case Number*         Secured          Priority      Unsecured
                                                  05-44640                                                                  $588,927.08   05-44640                                                $488,834.60

                                                                                                                            $588,927.08                                                           $488,834.60

Claim: 11040
                                                   Claim Holder Name and Address
Date Filed: 07/26/2006
Docketed Total:   $4,224.00                        JB HUNT TRANSPORTATION INC                 Docketed Total:                 $4,224.00   JB HUNT TRANSPORTATION INC      Modified Total:            $4,224.00
Filing Creditor Name and Address:                  PO BOX 130                                                                             PO BOX 130
  JB HUNT TRANSPORTATION INC                       LOWELL, AR 72745                                                                       LOWELL, AR 72745
  PO BOX 130
  LOWELL, AR 72745                                Case Number*                     Secured      Priority                Unsecured         Case Number*         Secured          Priority      Unsecured
                                                  05-44481                                                                    $4,224.00   05-44640                                                   $4,224.00

                                                                                                                              $4,224.00                                                              $4,224.00




*See Exhibit G for a listing of debtor entities by case number.
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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 15567
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $151,311.95                      KAC HOLDINGS INC DBA KESTER                Docketed Total:                $151,311.95    KAC HOLDINGS INC DBA KESTER       Modified Total:         $151,311.95
Filing Creditor Name and Address:                  KESTER                                                                                   KESTER
  KAC HOLDINGS INC DBA KESTER                      515 E TOUHY AVE                                                                          515 E TOUHY AVE
  KESTER                                           DES PLAINES, IL 60018                                                                    DES PLAINES, IL 60018
  515 E TOUHY AVE
  DES PLAINES, IL 60018                           Case Number*                     Secured      Priority                Unsecured           Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                  $151,311.95     05-44640                                                  $151,311.95

                                                                                                                             $151,311.95                                                              $151,311.95

Claim: 642
              11/17/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $1,703,785.68                  KAUMAGRAPH FLINT                           Docketed Total:               $1,703,785.68   KAUMAGRAPH FLINT                  Modified Total:        $1,655,726.96
Filing Creditor Name and Address:                  CORPORATION                                                                              CORPORATION
  KAUMAGRAPH FLINT                                 4705 INDUSTRIAL DR                                                                       4705 INDUSTRIAL DR
  CORPORATION                                      MILLINGTON, MI 48746                                                                     MILLINGTON, MI 48746
  4705 INDUSTRIAL DR
  MILLINGTON, MI 48746                            Case Number*                     Secured      Priority                Unsecured           Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                $1,703,785.68     05-44640                                                 $1,655,726.96

                                                                                                                            $1,703,785.68                                                            $1,655,726.96

Claim: 12210
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $34,446.55                       KEMET ELECTRONICS                          Docketed Total:                 $34,446.55    KEMET ELECTRONICS                 Modified Total:           $27,677.75
Filing Creditor Name and Address:                  CORPORATION                                                                              CORPORATION
  KEMET ELECTRONICS                                PO BOX 5928                                                                              PO BOX 5928
  CORPORATION                                      GREENVILLE, SC 29606                                                                     GREENVILLE, SC 29606
  PO BOX 5928
  GREENVILLE, SC 29606                            Case Number*                     Secured      Priority                Unsecured           Case Number*           Secured          Priority      Unsecured
                                                  05-44567                                                                   $34,446.55     05-44567                                                   $27,677.75

                                                                                                                              $34,446.55                                                                $27,677.75




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 12211
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $881,156.41                      KEMET ELECTRONICS                          Docketed Total:               $881,156.41   KEMET ELECTRONICS                 Modified Total:         $794,243.23
Filing Creditor Name and Address:                  CORPORATION                                                                            CORPORATION
  KEMET ELECTRONICS                                PO BOX 5928                                                                            PO BOX 5928
  CORPORATION                                      GREENVILLE, SC 29606                                                                   GREENVILLE, SC 29606
  PO BOX 5928
  GREENVILLE, SC 29606                            Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44640                                                                  $881,156.41   05-44640                                                  $794,243.23

                                                                                                                            $881,156.41                                                             $794,243.23

Claim: 5587
                                                   Claim Holder Name and Address
Date Filed: 05/10/2006
Docketed Total:   $34,297.45                       KIEMLE HANKINS CO THE                      Docketed Total:                $34,297.45   KIEMLE HANKINS CO THE             Modified Total:          $31,497.45
Filing Creditor Name and Address:                  KIEMLE HANKINS SERVICE CO                                                              KIEMLE HANKINS SERVICE CO
  KIEMLE HANKINS CO THE                            94 H ST AMPOINT                                                                        94 H ST AMPOINT
  KIEMLE HANKINS SERVICE CO                        PERRYSBURG, OH 43551                                                                   PERRYSBURG, OH 43551
  94 H ST AMPOINT
  PERRYSBURG, OH 43551                            Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                   $34,297.45   05-44640                                                   $31,497.45

                                                                                                                             $34,297.45                                                              $31,497.45

Claim: 4919
                                                   Claim Holder Name and Address
Date Filed: 05/05/2006
Docketed Total:   $46,119.52                       KIMBALL MIDWEST                            Docketed Total:                $46,119.52   KIMBALL MIDWEST                   Modified Total:          $36,280.18
Filing Creditor Name and Address:                  PO BOX 2470                                                                            PO BOX 2470
  KIMBALL MIDWEST                                  COLUMBUS, OH 43216-2470                                                                COLUMBUS, OH 43216-2470
  PO BOX 2470
  COLUMBUS, OH 43216-2470                         Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                   $46,119.52   05-44640                                                   $36,280.18

                                                                                                                             $46,119.52                                                              $36,280.18




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 4021
                                                   Claim Holder Name and Address
Date Filed: 05/01/2006
Docketed Total:   $18,228.18                       KRAMER AIR TOOL SALES & SERVIC             Docketed Total:                $18,228.18   KRAMER AIR TOOL SALES & SERVIC     Modified Total:          $17,033.73
Filing Creditor Name and Address:                  23149 COMMERCE DR                                                                      23149 COMMERCE DR
  KRAMER AIR TOOL SALES &                          FARMINGTON HILLS, MI 48335                                                             FARMINGTON HILLS, MI 48335
  SERVIC
  23149 COMMERCE DR                               Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured            Priority      Unsecured
  FARMINGTON HILLS, MI 48335                      05-44481                                                                   $18,228.18   05-44640                                                    $17,033.73

                                                                                                                             $18,228.18                                                               $17,033.73

Claim: 13752
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $80,134.04                       LEONI CABLE INC EFT                        Docketed Total:                $80,134.04   LEONI CABLE INC EFT                Modified Total:          $32,880.09
Filing Creditor Name and Address:                  EBERHARD ROHM & HEIKE M                                                                EBERHARD ROHM & HEIKE M
  LEONI CABLE INC EFT                              VOGEL                                                                                  VOGEL
  EBERHARD ROHM & HEIKE M                          1675 BROADWAY                                                                          1675 BROADWAY
  VOGEL                                            NEW YORK, NY 10019                                                                     NEW YORK, NY 10019
  1675 BROADWAY
  NEW YORK, NY 10019                              Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44640                                                                   $80,134.04   05-44640                                                    $32,880.09

                                                                                                                             $80,134.04                                                               $32,880.09

Claim: 2289
                                                   Claim Holder Name and Address
Date Filed: 03/14/2006
Docketed Total:   $34,239.45                       LINDE GAS LLC                              Docketed Total:                $34,239.45   LINDE GAS LLC                      Modified Total:          $34,239.45
Filing Creditor Name and Address:                  PO BOX 94737                                                                           PO BOX 94737
  LINDE GAS LLC                                    CLEVELAND, OH 44101-4737                                                               CLEVELAND, OH 44101-4737
  PO BOX 94737
  CLEVELAND, OH 44101-4737                        Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44481                                                                   $34,239.45   05-44640                                                    $34,239.45

                                                                                                                             $34,239.45                                                               $34,239.45




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Case No. 05-44481 (RDD)
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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                     CLAIM AS MODIFIED

Claim: 6620
                                                   Claim Holder Name and Address
Date Filed: 05/22/2006
Docketed Total:   $21,950.17                       MC MACHINERY MITSUBISHI                           Docketed Total:                  $21,950.17   MC MACHINERY MITSUBISHI              Modified Total:                  $5,132.89
Filing Creditor Name and Address:                  1500 MICHAEL DR                                                                                 1500 MICHAEL DR
  MC MACHINERY MITSUBISHI                          WOODDALE, IL 60191                                                                              WOODDALE, IL 60191
  1500 MICHAEL DR
  WOODDALE, IL 60191                              Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured          Priority            Unsecured
                                                  05-44481                                                                            $21,950.17   05-44481                                                              $5,132.89

                                                                                                                                      $21,950.17                                                                         $5,132.89

Claim: 2088
                                                   Claim Holder Name and Address
Date Filed: 02/21/2006
Docketed Total:   $723,848.28                      NORTHEAST VERIZON WIRELESS                        Docketed Total:                 $723,848.28   NORTHEAST VERIZON WIRELESS           Modified Total:               $712,745.23
Filing Creditor Name and Address:                  404 BROCK DR                                                                                    404 BROCK DR
  NORTHEAST VERIZON WIRELESS                       BLOOMINGTON, IL 61701                                                                           BLOOMINGTON, IL 61701
  404 BROCK DR
  BLOOMINGTON, IL 61701                           Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured          Priority            Unsecured
                                                  05-44481                                                                           $723,848.28   05-44640                                                           $712,745.23

                                                                                                                                     $723,848.28                                                                      $712,745.23

Claim: 10901
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $9,608.75                        PACIFIC RIM CAPITAL INC                           Docketed Total:                   $9,608.75   PACIFIC RIM CAPITAL INC              Modified Total:                   $939.59
Filing Creditor Name and Address:                  15 ENTERPRISE STE 400                                                                           15 ENTERPRISE STE 400
  PACIFIC RIM CAPITAL INC                          ALISO VIEJO, CA 92656                                                                           ALISO VIEJO, CA 92656
  15 ENTERPRISE STE 400
  ALISO VIEJO, CA 92656                           Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured          Priority            Unsecured
                                                  05-44481                              $9,496.44                 $112.31                          05-44481                                               $0.00
                                                                                                                                                   05-44640                                                               $939.59
                                                                                        $9,496.44                 $112.31
                                                                                                                                                                                                          $0.00           $939.59




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                     CLAIM AS MODIFIED

Claim: 10902
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $54,470.00                       PACIFIC RIM CAPITAL INC                           Docketed Total:                  $54,470.00   PACIFIC RIM CAPITAL INC                     Modified Total:                  $2,991.58
Filing Creditor Name and Address:                  15 ENTERPRISE STE 400                                                                           15 ENTERPRISE STE 400
  PACIFIC RIM CAPITAL INC                          ALISO VIEJO, CA 92656                                                                           ALISO VIEJO, CA 92656
  15 ENTERPRISE STE 400
  ALISO VIEJO, CA 92656                           Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured                Priority             Unsecured
                                                  05-44481                             $45,000.00                 $197.00              $9,273.00   05-44640                                                                     $2,991.58
                                                                                                                                                   05-44481                            $0.00                     $0.00
                                                                                       $45,000.00                 $197.00              $9,273.00
                                                                                                                                                                                       $0.00                     $0.00          $2,991.58

Claim: 10903
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $121,353.00                      PACIFIC RIM CAPITAL INC                           Docketed Total:                 $121,353.00   PACIFIC RIM CAPITAL INC                     Modified Total:                  $3,892.57
Filing Creditor Name and Address:                  15 ENTERPRISE STE 400                                                                           15 ENTERPRISE STE 400
  PACIFIC RIM CAPITAL INC                          ALISO VIEJO, CA 92656                                                                           ALISO VIEJO, CA 92656
  15 ENTERPRISE STE 400
  ALISO VIEJO, CA 92656                           Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured                Priority             Unsecured
                                                  05-44481                             $69,000.00                 $880.00             $51,473.00   05-44640                                                                     $3,892.57
                                                                                                                                                   05-44481                            $0.00                     $0.00
                                                                                       $69,000.00                 $880.00             $51,473.00
                                                                                                                                                                                       $0.00                     $0.00          $3,892.57

Claim: 10904
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $96,981.00                       PACIFIC RIM CAPITAL INC                           Docketed Total:                  $96,981.00   PACIFIC RIM CAPITAL INC                     Modified Total:                  $8,359.96
Filing Creditor Name and Address:                  15 ENTERPRISE STE 400                                                                           15 ENTERPRISE STE 400
  PACIFIC RIM CAPITAL INC                          ALISO VIEJO, CA 92656                                                                           ALISO VIEJO, CA 92656
  15 ENTERPRISE STE 400
  ALISO VIEJO, CA 92656                           Case Number*                     Secured             Priority                  Unsecured         Case Number*              Secured                Priority             Unsecured
                                                  05-44481                             $63,000.00                 $667.00             $33,314.00   05-44481                            $0.00                     $0.00
                                                                                                                                                   05-44640                                                                     $8,359.96
                                                                                       $63,000.00                 $667.00             $33,314.00
                                                                                                                                                                                       $0.00                     $0.00          $8,359.96




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 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 2171
                                                   Claim Holder Name and Address
Date Filed: 03/02/2006
Docketed Total:   $82,080.57                       HAIN CAPITAL HOLDINGS LLC                  Docketed Total:                $82,080.57   HAIN CAPITAL HOLDINGS LLC          Modified Total:          $77,632.72
Filing Creditor Name and Address:                  301 RTE 17 6TH FL                                                                      301 RTE 17 6TH FL
  PEI GENESIS INC                                  RUTHERFORD, NJ 07070                                                                   RUTHERFORD, NJ 07070
  FOX ROTHSCHILD LLP
  2000 MARKET ST 10TH FL                          Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
  PHILADELPHIA, PA 19103                          05-44481                                                                   $82,080.57   05-44640                                                    $77,632.72

                                                                                                                             $82,080.57                                                               $77,632.72

Claim: 5988
                                                   Claim Holder Name and Address
Date Filed: 05/16/2006
Docketed Total:   $223,768.64                      LONGACRE MASTER FUND LTD                   Docketed Total:               $223,768.64   LONGACRE MASTER FUND LTD           Modified Total:         $216,066.38
Filing Creditor Name and Address:                  810 SEVENTH AVE 22ND FL                                                                810 SEVENTH AVE 22ND FL
  PLASTOMER CORP                                   NEW YORK, NY 10019                                                                     NEW YORK, NY 10019
  PO BOX 67000 DEPT 15601
  DETROIT, MI 48267-0156                          Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44640                                                                  $223,768.64   05-44640                                                   $215,256.38
                                                                                                                                          05-44567                                                       $810.00
                                                                                                                            $223,768.64
                                                                                                                                                                                                     $216,066.38

Claim: 5388
                                                   Claim Holder Name and Address
Date Filed: 05/09/2006
Docketed Total:   $157,798.33                      PONTIAC COIL INC                           Docketed Total:               $157,798.33   PONTIAC COIL INC                   Modified Total:         $150,958.83
Filing Creditor Name and Address:                  5800 MOODY DR                                                                          5800 MOODY DR
  PONTIAC COIL INC                                 CLARKSTON, MI 48348-4768                                                               CLARKSTON, MI 48348-4768
  5800 MOODY DR
  CLARKSTON, MI 48348-4768                        Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44640                                                                  $157,798.33   05-44640                                                   $150,958.83

                                                                                                                            $157,798.33                                                              $150,958.83




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 12398
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $349,265.13                      ARGO PARTNERS                              Docketed Total:               $349,265.13   ARGO PARTNERS                      Modified Total:         $280,659.46
Filing Creditor Name and Address:                  12 W 37TH ST 9TH FL                                                                    12 W 37TH ST 9TH FL
  PRYCE AUTOMOTIVE INC                             NEW YORK, NY 10018                                                                     NEW YORK, NY 10018
  51 APPLE BLOSSOM BLVD
  BOWMANVILLE, ON L1C 4L9                         Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
  CANADA                                          05-44640                                                                  $349,265.13   05-44640                                                   $280,659.46

                                                                                                                            $349,265.13                                                              $280,659.46

Claim: 6480
                                                   Claim Holder Name and Address
Date Filed: 05/22/2006
Docketed Total:   $115,460.08                      QUALITY DISTRIBUTION INC                   Docketed Total:               $115,460.08   QUALITY DISTRIBUTION INC           Modified Total:          $54,304.10
Filing Creditor Name and Address:                  3802 CORPOREX PK DR                                                                    3802 CORPOREX PK DR
  QUALITY DISTRIBUTION INC                         TAMPA, FL 33619                                                                        TAMPA, FL 33619
  3802 CORPOREX PK DR
  TAMPA, FL 33619                                 Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44481                                                                  $115,460.08   05-44640                                                    $54,304.10

                                                                                                                            $115,460.08                                                               $54,304.10

Claim: 9305
                                                   Claim Holder Name and Address
Date Filed: 07/11/2006
Docketed Total:   $84,319.48                       QUALITY INSPECTION &                       Docketed Total:                $84,319.48   QUALITY INSPECTION &               Modified Total:          $81,520.23
Filing Creditor Name and Address:                  CONTAINMENT CO INC                                                                     CONTAINMENT CO INC
  QUALITY INSPECTION &                             PO BOX 66                                                                              PO BOX 66
  CONTAINMENT CO INC                               DAYTON, OH 45409                                                                       DAYTON, OH 45409
  PO BOX 66
  DAYTON, OH 45409                                Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured           Priority      Unsecured
                                                  05-44640                                                                   $84,319.48   05-44640                                                    $81,520.23

                                                                                                                             $84,319.48                                                               $81,520.23




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 11623
                                                   Claim Holder Name and Address
Date Filed: 07/27/2006
Docketed Total:   $54,921.81                       RADER FISHMAN & GRAVER PLLC                Docketed Total:                $54,921.81   RADER FISHMAN & GRAVER PLLC         Modified Total:          $54,921.81
Filing Creditor Name and Address:                  39533 WOODWARD AVE STE 140                                                             39533 WOODWARD AVE STE 140
  RADER FISHMAN & GRAVER                           BLOOMFIELD HILLS, MI 48304                                                             BLOOMFIELD HILLS, MI 48304
  PLLC
  39533 WOODWARD AVE STE 140                      Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured             Priority      Unsecured
  BLOOMFIELD HILLS, MI 48304                      05-44481                                                                   $54,921.81   05-44554                                                     $54,921.81

                                                                                                                             $54,921.81                                                                $54,921.81

Claim: 5967
                                                   Claim Holder Name and Address
Date Filed: 05/16/2006
Docketed Total:   $221,190.88                      HAIN CAPITAL HOLDINGS LLC                  Docketed Total:               $221,190.88   HAIN CAPITAL HOLDINGS LLC           Modified Total:         $188,028.67
Filing Creditor Name and Address:                  301 RTE 17 6TH FL                                                                      301 RTE 17 6TH FL
  RED SPOT PAINT & VARNISH CO                      RUTHERFORD, NJ 07070                                                                   RUTHERFORD, NJ 07070
  IN
  PO BOX 418                                      Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured             Priority      Unsecured
  EVANSVILLE, IN 47703-0418                       05-44640                                                                  $221,190.88   05-44640                                                    $188,028.67

                                                                                                                            $221,190.88                                                               $188,028.67

Claim: 16347
                                                   Claim Holder Name and Address
Date Filed: 10/02/2006
Docketed Total:   $26,769.62                       RELATIONAL FUNDING                         Docketed Total:                $26,769.62   RELATIONAL FUNDING                  Modified Total:          $10,585.92
Filing Creditor Name and Address:                  CORPORATION                                                                            CORPORATION
  RELATIONAL FUNDING                               3701 ALGONQUIN RD                                                                      3701 ALGONQUIN RD
  CORPORATION                                      STE 600                                                                                STE 600
  3701 ALGONQUIN RD                                ROLLING MEADOWS, IL 60008                                                              ROLLING MEADOWS, IL 60008
  STE 600
  ROLLING MEADOWS, IL 60008                       Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                   $26,769.62   05-44640                                                     $10,585.92

                                                                                                                             $26,769.62                                                                $10,585.92




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Case No. 05-44481 (RDD)
 EXHIBIT E-1 - CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                     CLAIM AS MODIFIED

Claim: 11572
                                                   Claim Holder Name and Address
Date Filed: 07/27/2006
Docketed Total:   $6,971.97                        RENAISSANCE CAPITAL ALLIANCE                      Docketed Total:                 $6,971.97     RENAISSANCE CAPITAL ALLIANCE           Modified Total:                  $6,969.97
Filing Creditor Name and Address:                  L                                                                                               L
  RENAISSANCE CAPITAL                              2005 W HAMLIN RD STE 200                                                                        2005 W HAMLIN RD STE 200
  ALLIANCE L                                       ROCHESTER HILLS, MI 48309                                                                       ROCHESTER HILLS, MI 48309
  2005 W HAMLIN RD STE 200
  ROCHESTER HILLS, MI 48309                       Case Number*                     Secured             Priority                Unsecured           Case Number*        Secured                 Priority             Unsecured
                                                  05-44481                              $6,969.97                 $1.00                    $1.00   05-44481                       $0.00                     $0.00          $6,969.97

                                                                                        $6,969.97                 $1.00                    $1.00                                  $0.00                     $0.00          $6,969.97

Claim: 4001
                                                   Claim Holder Name and Address
Date Filed: 05/01/2006
Docketed Total:   $7,480.00                        MADISON INVESTMENT TRUST                          Docketed Total:                 $7,480.00     MADISON INVESTMENT TRUST               Modified Total:                  $7,480.00
Filing Creditor Name and Address:                  SERIES 38                                                                                       SERIES 38
  ROOT NEAL & CO INC                               6310 LAMAR AVE STE 120                                                                          6310 LAMAR AVE STE 120
  64 PEABODY ST                                    OVERLAND PARK, KS 66202                                                                         OVERLAND PARK, KS 66202
  BUFFALO, NY 14210-1523
                                                  Case Number*                     Secured             Priority                Unsecured           Case Number*        Secured                 Priority             Unsecured
                                                  05-44481                                                                           $7,480.00     05-44640                                                                $7,480.00

                                                                                                                                     $7,480.00                                                                             $7,480.00

Claim: 13456
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $42,130.53                       ROTOFORM A DIVISION OF MAGNA                      Docketed Total:                $42,130.53     ROTOFORM A DIVISION OF MAGNA           Modified Total:                 $42,130.53
Filing Creditor Name and Address:                  POWER TRAIN INC                                                                                 POWER TRAIN INC
  ROTOFORM A DIVISION OF                           40950 WOODWARD AVE STE 100                                                                      40950 WOODWARD AVE STE 100
  MAGNA POWER TRAIN INC                            BLOOMFIELD HILLS, MI 48304                                                                      BLOOMFIELD HILLS, MI 48304
  40950 WOODWARD AVE STE 100
  BLOOMFIELD HILLS, MI 48304                      Case Number*                     Secured             Priority                Unsecured           Case Number*        Secured                 Priority             Unsecured
                                                  05-44640                             $42,130.53                                                  05-44640                                                              $42,130.53

                                                                                       $42,130.53                                                                                                                         $42,130.53




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Case No. 05-44481 (RDD)
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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 12030
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $40,444.54                       SAINT GOBAIN PERFORMANCE                   Docketed Total:                $40,444.54   SAINT GOBAIN PERFORMANCE         Modified Total:           $31,402.34
Filing Creditor Name and Address:                  1199 S CHILLICOTHE RD                                                                  1199 S CHILLICOTHE RD
  SAINT GOBAIN PERFORMANCE                         AURORA, OH 44202                                                                       AURORA, OH 44202
  1199 S CHILLICOTHE RD
  AURORA, OH 44202                                Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured          Priority      Unsecured
                                                  05-44481                                                                   $40,444.54   05-44640                                                  $27,493.38
                                                                                                                                          05-44624                                                    $3,908.96
                                                                                                                             $40,444.54
                                                                                                                                                                                                     $31,402.34

Claim: 604
              11/16/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $37,280.00                     SHIPPERS INTERNATIONAL                     Docketed Total:                $37,280.00   SHIPPERS INTERNATIONAL           Modified Total:           $36,950.00
Filing Creditor Name and Address:                  3750 STEWARTS LN                                                                       3750 STEWARTS LN
  SHIPPERS INTERNATIONAL                           NASHVILLE, TN 37218                                                                    NASHVILLE, TN 37218
  3750 STEWARTS LN
  NASHVILLE, TN 37218                             Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured          Priority      Unsecured
                                                  05-44481                                                                   $37,280.00   05-44640                                                  $36,950.00

                                                                                                                             $37,280.00                                                              $36,950.00

Claim: 14672
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $10,328.69                       SIERRA LIQUIDITY FUND LLC                  Docketed Total:                $10,328.69   SIERRA LIQUIDITY FUND LLC        Modified Total:            $7,110.72
Filing Creditor Name and Address:                  ASSIGNEE AGE INDUSTRIES INC                                                            ASSIGNEE AGE INDUSTRIES INC
  SIERRA LIQUIDITY FUND LLC                        ASSIGNOR                                                                               ASSIGNOR
  ASSIGNEE AGE INDUSTRIES INC                      2699 WHITE RD STE 255                                                                  2699 WHITE RD STE 255
  ASSIGNOR                                         IRVINE, CA 92614                                                                       IRVINE, CA 92614
  2699 WHITE RD STE 255
  IRVINE, CA 92614                                Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured          Priority      Unsecured
                                                  05-44640                                                                   $10,328.69   05-44640                                                    $7,110.72

                                                                                                                             $10,328.69                                                               $7,110.72




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Case No. 05-44481 (RDD)
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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 15973
                                                   Claim Holder Name and Address
Date Filed: 08/09/2006
Docketed Total:   $31,262.85                       SIERRA LIQUIDITY FUND LLC                  Docketed Total:                $31,262.85   SIERRA LIQUIDITY FUND LLC         Modified Total:           $31,262.85
Filing Creditor Name and Address:                  ASSIGNEE INSPEX INC ASSIGNOR                                                           ASSIGNEE INSPEX INC ASSIGNOR
  SIERRA LIQUIDITY FUND LLC                        SIERRA LIQUIDITY FUND                                                                  SIERRA LIQUIDITY FUND
  ASSIGNEE INSPEX INC ASSIGNOR                     2699 WHITE RD STE 255                                                                  2699 WHITE RD STE 255
  SIERRA LIQUIDITY FUND                            IRVINE, CA 92614                                                                       IRVINE, CA 92614
  2699 WHITE RD STE 255
  IRVINE, CA 92614                                Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                   $31,262.85   05-44640                                                   $31,262.85

                                                                                                                             $31,262.85                                                               $31,262.85

Claim: 417
              11/07/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $4,491.96                      SOUTHEASTERN FREIGHT LINES                 Docketed Total:                 $4,491.96   SOUTHEASTERN FREIGHT LINES        Modified Total:            $4,491.96
Filing Creditor Name and Address:                  PO BOX 1691                                                                            PO BOX 1691
  SOUTHEASTERN FREIGHT LINES                       COLUMBIA, SC 29202                                                                     COLUMBIA, SC 29202
  PO BOX 1691
  COLUMBIA, SC 29202                              Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                    $4,491.96   05-44640                                                     $4,491.96

                                                                                                                              $4,491.96                                                                $4,491.96

Claim: 11259
                                                   Claim Holder Name and Address
Date Filed: 07/27/2006
Docketed Total:   $814,710.90                      T & L AUTOMATICS INC                       Docketed Total:               $814,710.90   T & L AUTOMATICS INC              Modified Total:         $364,710.90
Filing Creditor Name and Address:                  770 EMERSON ST                                                                         770 EMERSON ST
  T & L AUTOMATICS INC                             ROCHESTER, NY 14613                                                                    ROCHESTER, NY 14613
  770 EMERSON ST
  ROCHESTER, NY 14613                             Case Number*                     Secured      Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44640                                                                  $814,710.90   05-44640                                                  $364,710.90

                                                                                                                            $814,710.90                                                             $364,710.90




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Case No. 05-44481 (RDD)
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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 7443
                                                   Claim Holder Name and Address
Date Filed: 06/05/2006
Docketed Total:   $108,297.25                      TEKNOR APEX COMPANY                        Docketed Total:               $108,297.25   TEKNOR APEX COMPANY                  Modified Total:          $94,466.13
Filing Creditor Name and Address:                  505 CENTRAL AVE                                                                        505 CENTRAL AVE
  TEKNOR APEX COMPANY                              PAWTUCKET, RI 02861                                                                    PAWTUCKET, RI 02861
  505 CENTRAL AVE
  PAWTUCKET, RI 02861                             Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
                                                  05-44481                                                                  $108,297.25   05-44640                                                      $94,466.13

                                                                                                                            $108,297.25                                                                 $94,466.13

Claim: 16120
                                                   Claim Holder Name and Address
Date Filed: 08/09/2006
Docketed Total:   $45,212.36                       THERMO ELECTRON NORTH                      Docketed Total:                $45,212.36   THERMO ELECTRON NORTH                Modified Total:          $28,732.97
Filing Creditor Name and Address:                  AMERICA                                                                                AMERICA
  THERMO ELECTRON NORTH                            1400 NORTHPOINTE PKWY STE10                                                            1400 NORTHPOINTE PKWY STE10
  AMERICA                                          WEST PALM BEACH, FL 33407                                                              WEST PALM BEACH, FL 33407
  1400 NORTHPOINTE PKWY
  STE10                                           Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
  WEST PALM BEACH, FL 33407                       05-44481                                                                   $45,212.36   05-44640                                                      $28,732.97

                                                                                                                             $45,212.36                                                                 $28,732.97

Claim: 13420
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $759,698.01                      TICONA LLC                                 Docketed Total:               $759,698.01   TICONA LLC                           Modified Total:         $759,698.01
Filing Creditor Name and Address:                  TICONA FORTRON                                                                         TICONA FORTRON
  TICONA LLC                                       8040 DIXIE HWY                                                                         8040 DIXIE HWY
  TICONA FORTRON                                   FLORENCE, KY 41042-2904                                                                FLORENCE, KY 41042-2904
  8040 DIXIE HWY
  FLORENCE, KY 41042-2904                         Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
                                                  05-44481                                                                  $759,698.01   05-44567                                                      $33,088.73
                                                                                                                                          05-44640                                                     $726,609.28
                                                                                                                            $759,698.01
                                                                                                                                                                                                       $759,698.01




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 462
              11/09/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $4,836.00                      TRUCKS FOR YOU INC                         Docketed Total:                 $4,836.00   TRUCKS FOR YOU INC                   Modified Total:            $4,836.00
Filing Creditor Name and Address:                  PO BOX AH                                                                              PO BOX AH
  TRUCKS FOR YOU INC                               MUSKOGEE, OK 74402                                                                     MUSKOGEE, OK 74402
  PO BOX AH
  MUSKOGEE, OK 74402                              Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
                                                  05-44481                                                                    $4,836.00   05-44640                                                        $4,836.00

                                                                                                                              $4,836.00                                                                   $4,836.00

Claim: 10561
                                                   Claim Holder Name and Address
Date Filed: 07/24/2006
Docketed Total:   $8,456.58                        VA MEDICAL CENTER                          Docketed Total:                 $8,456.58   VA MEDICAL CENTER                    Modified Total:            $8,456.58
Filing Creditor Name and Address:                  AGT CSHR 04C                                                                           AGT CSHR 04C
  VA MEDICAL CENTER                                1055 CLERMONT ST                                                                       1055 CLERMONT ST
  AGT CSHR 04C                                     DENVER, CO 80220                                                                       DENVER, CO 80220
  1055 CLERMONT ST
  DENVER, CO 80220                                Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
                                                  05-44481                                                                    $8,456.58   05-44640                                                        $8,456.58

                                                                                                                              $8,456.58                                                                   $8,456.58

Claim: 7365
                                                   Claim Holder Name and Address
Date Filed: 06/02/2006
Docketed Total:   $24,747.08                       CELLCO PARTNERSHIP                         Docketed Total:                $24,747.08   CELLCO PARTNERSHIP                   Modified Total:           $24,747.08
Filing Creditor Name and Address:                  ONE VERIZON WY                                                                         ONE VERIZON WY
  VERIZON WIRELESS MESSAGING                       VC52S 243                                                                              VC52S 243
  SERVICES LLC                                     BASKING RIDGE, NJ 07920                                                                BASKING RIDGE, NJ 07920
  LOWENSTEIN SANDLER PC
  65 LIVINGSTON AVE                               Case Number*                     Secured      Priority                Unsecured         Case Number*              Secured          Priority      Unsecured
  ROSELAND, NJ 07068                              05-44481                                                                   $24,747.08   05-44640                                                      $24,747.08

                                                                                                                             $24,747.08                                                                  $24,747.08




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                   CLAIM AS MODIFIED

Claim: 12385
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $125,315.71                      VIASYSTEMS                                        Docketed Total:               $125,315.71   VIASYSTEMS                        Modified Total:         $122,708.51
Filing Creditor Name and Address:                  1915 TROLLEY RD                                                                               1915 TROLLEY RD
  VIASYSTEMS                                       YORK, PA 17408                                                                                YORK, PA 17408
  1915 TROLLEY RD
  YORK, PA 17408                                  Case Number*                     Secured             Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44567                                                                         $125,315.71   05-44567                                                  $122,708.51

                                                                                                                                   $125,315.71                                                             $122,708.51

Claim: 579
              11/15/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $78,355.00                     LONGACRE MASTER FUND LTD                          Docketed Total:                $78,355.00   LONGACRE MASTER FUND LTD          Modified Total:           $65,511.00
Filing Creditor Name and Address:                  810 SEVENTH AVE 22ND FL                                                                       810 SEVENTH AVE 22ND FL
  VISCOM INC                                       NEW YORK, NY 10019                                                                            NEW YORK, NY 10019
  3290 GREEN POINTE PKWY STE
  400                                             Case Number*                     Secured             Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
  NORCROSS, GA 30092                              05-44481                             $57,000.00                                   $21,355.00   05-44640                                                   $65,511.00

                                                                                       $57,000.00                                   $21,355.00                                                               $65,511.00

Claim: 8534
                                                   Claim Holder Name and Address
Date Filed: 06/26/2006
Docketed Total:   $5,945.45                        X RAY INDUSTRIES INC                              Docketed Total:                 $5,945.45   X RAY INDUSTRIES INC              Modified Total:            $4,611.86
Filing Creditor Name and Address:                  XRI TESTING                                                                                   XRI TESTING
  X RAY INDUSTRIES INC                             1961 THUNDERBIRD ST                                                                           1961 THUNDERBIRD ST
  XRI TESTING                                      TROY, MI 48084-5467                                                                           TROY, MI 48084-5467
  1961 THUNDERBIRD ST
  TROY, MI 48084-5467                             Case Number*                     Secured             Priority                Unsecured         Case Number*           Secured          Priority      Unsecured
                                                  05-44481                                                                           $5,945.45   05-44640                                                     $4,611.86

                                                                                                                                     $5,945.45                                                                $4,611.86




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CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 10592
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $4,612.09                        XPEDX                                      Docketed Total:                 $4,612.09   XPEDX                                  Modified Total:            $1,471.45
Filing Creditor Name and Address:                  FMLY RESOURCENET INTL REID                                                             FMLY RESOURCENET INTL REID
  XPEDX                                            PAP                                                                                    PAP
  FMLY RESOURCENET INTL REID                       28401 SCHOOLCRAFT RD STE 400                                                           28401 SCHOOLCRAFT RD STE 400
  PAP                                              LIVONIA, MI 48150-2238                                                                 LIVONIA, MI 48150-2238
  28401 SCHOOLCRAFT RD STE 400
  LIVONIA, MI 48150-2238                          Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
                                                  05-44481                                                                    $4,612.09   05-44640                                                          $1,471.45

                                                                                                                              $4,612.09                                                                     $1,471.45

Claim: 8533
                                                   Claim Holder Name and Address
Date Filed: 06/26/2006
Docketed Total:   $63,793.42                       AMROC INVESTMENTS LLC                      Docketed Total:                $63,793.42   AMROC INVESTMENTS LLC                  Modified Total:           $54,428.10
Filing Creditor Name and Address:                  535 MADISON AVE 15TH FL                                                                535 MADISON AVE 15TH FL
  XRI TESTING                                      NEW YORK, NY 10022                                                                     NEW YORK, NY 10022
  1961 THUNDERBIRD
  TROY, MI 48084                                  Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
                                                  05-44640                                                                   $63,793.42   05-44640                                                        $54,428.10

                                                                                                                             $63,793.42                                                                    $54,428.10

Claim: 10408
                                                   Claim Holder Name and Address
Date Filed: 07/24/2006
Docketed Total:   $1,000.00                        YOUNT LORETTA OBO TINA L                   Docketed Total:                 $1,000.00   YOUNT LORETTA OBO TINA L               Modified Total:            $1,000.00
Filing Creditor Name and Address:                  COOLEY A MINOR                                                                         COOLEY A MINOR
  YOUNT LORETTA OBO TINA L                         DYER GAROFALO MANN &                                                                   DYER GAROFALO MANN &
  COOLEY A MINOR                                   SCHULTZ                                                                                SCHULTZ
  DYER GAROFALO MANN &                             131 NORTH LUDLOW ST STE 1400                                                           131 NORTH LUDLOW ST STE 1400
  SCHULTZ                                          DAYTON, OH 45402                                                                       DAYTON, OH 45402
  131 NORTH LUDLOW ST STE
  1400                                            Case Number*                     Secured      Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
  DAYTON, OH 45402                                05-44481                                                                    $1,000.00   05-44640                                                          $1,000.00

                                                                                                                              $1,000.00                                                                     $1,000.00


                                                                                                                                               Total Claims to be Modified: 75
                                                                                                                                               Total Amount as Docketed:          $11,571,553.25
                                                                                                                                               Total Amount as Modified:          $9,557,989.89


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